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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 FAIRLY W. EARLS ,

         Petitioner,                                                    ORDER
 v.
                                                               Case No. 21-cv-337-wmc
 FEDERAL BUREAU OF PRISONS,

         Respondent.


        Petitioner Fairly W. Earls seeks a writ of habeas corpus pursuant to 28 U.S.C. § 2241.

Petitioner has neither paid the $5 filing fee nor requested leave to proceed without prepayment

of the filing fee. For this case to move forward, petitioner must pay the $5 filing fee or submit

a properly supported motion for leave to proceed without prepayment of the filing fee no later

than June 28, 2021. Any motion for leave to proceed without prepayment of the filing fee

must include a certified copy of an inmate trust fund account statement (or institutional

equivalent) for the six-month period beginning approximately December 7, 2020 through the

date of the petition, June 7, 2021.




                                            ORDER

        IT IS ORDERED that:

                  1.   Petitioner Fairly W. Earls may have until June 28, 2021, to pay the $5

filing fee or submit a properly supported motion for leave to proceed without prepayment of

the filing fee.
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       2.     If petitioner does not submit either the $5 payment or a motion for leave to

proceed without prepayment before June 28, 2021, I will assume that petitioner wishes to

withdraw this petition.




              Entered this 7th day of June, 2021.

                                   BY THE COURT:


                                   /s/
                                   PETER OPPENEER
                                   Magistrate Judge
